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12
                              UNITED STATES DISTRICT COURT
13
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     UNITED STATES OF AMERICA,               No. CR 2:23-00596-RGK-1
15
                 Plaintiff,                  STIPULATION AND JOINT REQUEST FOR
16                                           A PROTECTIVE ORDER REGARDING
                 v.                          DISCOVERY CONTAINING PERSONAL
17                                           IDENTIFYING INFORMATION, PRIVACY
     LU ZHANG,                               ACT INFORMATION, AND COOPERATING
18                                           WITNESS INFORMATION
                 Defendant.
19                                           PROPOSED ORDER FILED SEPARATELY

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22
          Plaintiff, United States of America, by and through its counsel
23
     of record, the United States Attorney for the Central District of
24
     California and Assistant United States Attorneys Maxwell Coll and
25
     Nisha Chandran, and defendant LU ZHANG (“defendant”), by and through
26
     his counsel of record, defense attorney Shaun Khojayan (collectively
27
     the “parties”), for the reasons set forth below, request that the
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1    Court enter the proposed protective order (the “Protective Order”)

2    governing the use and dissemination of personal identifying

3    information (“PII”) of real persons pursuant to Federal Rule of

4    Criminal Procedure Rule 16(d)(1), material that may contain

5    information within the scope of the Privacy Act, and information

6    related to confidential informant(s) and/or cooperating witness(es)

7    who may testify at trial.

8         Introduction and Grounds for Protective Order

9         1.    Defendant is charged in this matter with violations of

10   Conspiracy to Commit Money Laundering, in violation of 18 U.S.C. §

11   1956(h); Concealment Money Laundering, in violation of 18 U.S.C. §

12   1956(a)(1)(B)(i); and International Money Laundering, in violation

13   of 18 U.S.C. § 1956(a)(2)(B)(i).       Defendant is detained pending

14   trial.

15        2.    A protective order is necessary because the government

16   intends to produce to the defense materials regarding confidential

17   informants or cooperating witnesses who participated in the

18   government’s investigation and who may testify at trial.           Because

19   these materials could be used to identify the confidential

20   informants or cooperating witnesses, the government believes that

21   the unauthorized dissemination or distribution of the materials may

22   compromise the ability of such persons to participate effectively in

23   future investigations in an undercover capacity and/or may expose

24   him/her to potential safety risks.

25        3.    A protective order is also necessary because the

26   government intends to produce to the defense materials containing

27   third parties’ PII.     The government believes that disclosure of this

28   information without limitation risks the privacy and security of the

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1    information’s legitimate owners.       Because the government has an

2    ongoing obligation to protect third parties’ PII, the government

3    cannot produce to defendant an unredacted set of discovery

4    containing this information without the Court entering the

5    Protective Order.     Moreover, PII makes up a significant part of the

6    discovery in this case and such information itself, in many

7    instances, has evidentiary value.          If the government were to attempt

8    to redact all this information in strict compliance with Federal

9    Rule of Criminal Procedure 49.1, the Central District of

10   California’s Local Rules regarding redaction, and the Privacy Policy

11   of the United States Judicial Conference, the defense would receive

12   a set of discovery that would be highly confusing and difficult to

13   understand, and it would be challenging for defense counsel to

14   adequately evaluate the case, provide advice to defendant, or

15   prepare for trial.

16        4.    An order is also necessary because the government intends

17   to produce to the defense materials that may contain information

18   within the scope of the Privacy Act, 5 U.S.C. § 552a (“Privacy Act

19   Information”).    To the extent that these materials contain Privacy

20   Act Information, an order is necessary to authorize disclosure

21   pursuant to 5 U.S.C. § 552a(b)(11).

22        5.    The purpose of the Protective Order is to (a) allow the

23   government to comply with its discovery obligations while protecting

24   this sensitive information from unauthorized dissemination, and

25   (b) provide the defense with sufficient information to adequately

26   represent defendant.

27        Definitions

28        6.    The parties agree to the following definitions:

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1               a.    “CI Materials” includes any information relating to a

2    confidential informant’s or cooperating witness’s prior history of

3    cooperation with law enforcement, prior criminal history,

4    statements, or any other information that could be used to identify

5    a confidential informant or cooperating witness, such as a name,

6    image, address, date of birth, or unique personal identification

7    number, such as a Social Security number, driver’s license number,

8    account number, or telephone number.

9               b.    “PII Materials” includes any information that can be

10   used to identify a person, including a name, address, date of birth,

11   Social Security number, driver’s license number, telephone number,

12   account number, email address, or personal identification number.

13              c.    “Confidential Information” refers to any document or

14   information containing CI Materials, PII Materials that the

15   government produces to the defense pursuant to this Protective Order

16   and any copies thereof.

17              d.    “Defense Team” includes (1) defendant’s counsel of

18   record (“defense counsel”); (2) other attorneys at defense counsel’s

19   law firm who may be consulted regarding case strategy in this case;

20   (3) defense investigators who are assisting defense counsel with

21   this case; (4) retained experts or potential experts; and

22   (5) paralegals, legal assistants, and other support staff to defense

23   counsel who are providing assistance on this case.          The Defense Team

24   does not include defendant, defendant’s family members, or any other

25   associates of defendant.

26        Terms of the Protective Order

27        7.    The parties jointly request the Court enter the Protective

28   Order, which will permit the government to produce Confidential

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1    Information in a manner that preserves the privacy and security of

2    third parties.    The parties agree that the following conditions in

3    the Protective Order will serve these interests:

4               a.    The government is authorized to provide defense

5    counsel with Confidential Information marked with the following

6    legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE

7    ORDER.”   The government may put that legend on the digital medium

8    (such as DVD or hard drive) or simply label a digital folder on the

9    digital medium to cover the content of that digital folder.            The

10   government may also redact any PII contained in the production of

11   Confidential Information.

12              b.    If defendant objects to a designation that material

13   contains Confidential Information, the parties shall meet and

14   confer.   If the parties cannot reach an agreement regarding

15   defendant’s objection, defendant may apply to the Court to have the

16   designation removed.

17              c.    Defendant and the Defense Team agree to use the

18   Confidential Information solely to prepare for any pretrial motions,

19   plea negotiations, trial, and sentencing hearing in this case, as

20   well as any appellate and post-conviction proceedings related to

21   this case.

22              d.    The Defense Team shall not permit anyone other than

23   the Defense Team to have possession of Confidential Information,

24   including defendant, while outside the presence of the Defense Team.

25              e.    Notwithstanding the paragraph above, defendant may

26   see and review CI Materials only in the presence of defense counsel,

27   and defense counsel shall ensure that defendant is never left alone

28   with any CI Materials.      At the conclusion of any meeting with

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1    defendant at which defendant is permitted to view CI Materials,

2    defendant must return any CI Materials to defense counsel, who shall

3    take all such materials with counsel.        Defendant may not take any CI

4    Materials out of the room in which defendant is meeting with defense

5    counsel.   At no time, under no circumstance, will any Confidential

6    Information be left in the possession, custody, or control of

7    defendant, regardless of defendant’s custody status.

8               f.    Defendant may review PII Materials only in the

9    presence of a member of the Defense Team, who shall ensure that

10   defendant is never left alone with any PII Materials.           At the

11   conclusion of any meeting with defendant at which defendant is

12   permitted to view PII Materials, defendant must return any PII

13   Materials to the Defense Team, and the member of the Defense Team

14   present shall take all such materials with him or her.           Defendant

15   may not take any PII Materials out of the room in which defendant is

16   meeting with the Defense Team.

17              g.    Defendant may see and review Confidential Information

18   as permitted by this Protective Order, but defendant may not copy,

19   keep, maintain, or otherwise possess any Confidential Information in

20   this case at any time.      Defendant also may not write down or

21   memorialize any data or information contained in the Confidential

22   Information.

23              h.    The Defense Team may review Confidential Information

24   with a witness or potential witness in this case, including

25   defendant.     Defense counsel must be present whenever any CI

26   Materials are being shown to a witness or potential witness.             A

27   member of the Defense Team must be present if PII Materials are

28   being shown to a witness or potential witness.          Before being shown

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1    any portion of Confidential Information, however, any witness or

2    potential witness must be informed of, and agree in writing to be

3    bound by, the requirements of the Protective Order.          No member of

4    the Defense Team shall permit a witness or potential witness to

5    retain Confidential Information or any notes generated from

6    Confidential Information.

7               i.    The Defense Team shall maintain Confidential

8    Information safely and securely, and shall exercise reasonable care

9    in ensuring the confidentiality of those materials by (1) not

10   permitting anyone other than members of the Defense Team, defendant,

11   witnesses, and potential witnesses, as restricted above, to see

12   Confidential Information; (2) not divulging to anyone other than

13   members of the Defense Team, defendant, witnesses, and potential

14   witnesses, the contents of Confidential Information; and (3) not

15   permitting Confidential Information to be outside the Defense Team’s

16   offices, homes, vehicles, or personal presence.          CI Materials shall

17   not be left unattended in any vehicle.

18              j.    To the extent that defendant, the Defense Team,

19   witnesses, or potential witnesses create notes that contain, in

20   whole or in part, Confidential Information, or to the extent that

21   copies are made for authorized use by members of the Defense Team,

22   such notes, copies, or reproductions become Confidential Information

23   subject to the Protective Order and must be handled in accordance

24   with the terms of the Protective Order.

25              k.    The Defense Team shall use Confidential Information

26   only for the litigation of this matter and for no other purpose.

27   Litigation of this matter includes any appeal filed by defendant and

28   any motion filed by defendant pursuant to 28 U.S.C. § 2255.            In the

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1    event that a party needs to file Confidential Information with the

2    Court or divulge the contents of Confidential Information in court

3    filings, the filing should be made under seal.          If the Court rejects

4    the request to file such information under seal, the party seeking

5    to file such information publicly shall provide advance written

6    notice to the other party to afford such party an opportunity to

7    object or otherwise respond to such intention.          If the other party

8    does not object to the proposed filing, the party seeking to file

9    such information shall redact any CI Materials or PII Materials and

10   make all reasonable attempts to limit the divulging of CI Materials

11   or PII Materials.

12              l.    The parties agree that any Confidential Information

13   inadvertently produced in the course of discovery prior to entry of

14   the Protective Order shall be subject to the terms of the Protective

15   Order.   If Confidential Information was inadvertently produced prior

16   to entry of the Protective Order without being marked “CONFIDENTIAL

17   INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government

18   shall reproduce the material with the correct designation and notify

19   defense counsel of the error.       The Defense Team shall take immediate

20   steps to destroy the unmarked material, including any copies.

21              m.    The parties agree that if any Confidential

22   Information contains both CI Materials and another category of

23   Confidential Information, the information shall be handled in

24   accordance with the CI Materials provisions of the Protective Order.

25              n.    Confidential Information shall not be used by the

26   defendant or Defense Team, in any way, in any other matter, absent

27   an order by this Court.      All materials designated subject to the

28   Protective Order maintained in the Defense Team’s files shall remain

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1    subject to the Protective Order unless and until such order is

2    modified by this Court.      Within 30 days of the conclusion of

3    appellate and post-conviction proceedings, defense counsel shall

4    return CI Materials to the government or certify that such materials

5    have been destroyed.     Upon request by the government, defense

6    counsel shall return all PII Materials, certify that such materials

7    have been destroyed, or certify that such materials are being kept

8    pursuant to the California Business and Professions Code and the

9    California Rules of Professional Conduct.

10              o.    In the event that there is a substitution of counsel

11   prior to when such documents must be returned, new defense counsel

12   must be informed of, and agree in writing to be bound by, the

13   requirements of the Protective Order before the undersigned defense

14   counsel transfers any Confidential Information to the new defense

15   counsel.   New defense counsel’s written agreement to be bound by the

16   terms of the Protective Order must be returned to the Assistant U.S.

17   Attorneys assigned to the case.       New defense counsel then will

18   become the Defense Team’s custodian of materials designated subject

19   to the Protective Order and shall then become responsible, upon the

20   conclusion of appellate and post-conviction proceedings, for:

21   (1) returning to the government, certifying the destruction of, or

22   retaining pursuant to the California Business and Professions Code

23   and the California Rules of Professional Conduct all PII Materials;

24   and (2) returning to the government or certifying the destruction of

25   all CI Materials.

26              p.    Defense counsel agrees to advise defendant and all

27   members of the Defense Team of their obligations under the

28   Protective Order and ensure their agreement to follow the Protective

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 1   Order, prior to providing defendant and members of the Defense Team

 2   with access to any materials subject to the Protective Order.

 3               q.    Defense Counsel has conferred with defendant

 4   regarding this stipulation and the proposed order thereon, and

 5   defendant agrees to the terms of the proposed order.

 6               r.    Accordingly, the parties have agreed to request that

 7   the Court enter a protective order in the form submitted herewith.

 8         IT IS SO STIPULATED.

 9         DATED: January 26, 2023            E. MARTIN ESTRADA
                                              United States Attorney
10
                                              CAMERON L. SCHROEDER
11
                                              Assistant United States Attorney
12                                            Chief, National Security Division

13                                                 /s/
                                              _______________________________
14                                            NISHA CHANDRAN
                                              MAXWELL COLL
15                                            Assistant United States Attorneys
16
                                              Attorneys for Plaintiff
17                                            UNITED STATES OF AMERICA

18
                  1-26-2024
           DATED: _____________               ___________________________
19                                            SHAUN KHOJAYAN
                                              Attorney for Defendant
20                                            LU ZHANG
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